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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:06-cr-00196
                                    )
v.                                  )                   Honorable Gordon J. Quist
                                    )
ARTURO HERNANDEZ,                   )
a/k/a                               )
Vampiro,                            )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 9, 2006, after receiving the written consent of defendant and all counsel. There

is no written plea agreement. At the hearing, defendant Arturo Hernandez entered a plea of guilty

to the One-Count Indictment charging defendant with conspiracy to distribute more than 500 grams

of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1). On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that the

plea is made knowingly and with full understanding of each of the rights waived by defendant; that

it is made voluntarily and free from any force, threats, or promises; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to the One-Count Indictment

be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of
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guilt, and imposition of sentence are specifically reserved for the district judge. The clerk is directed

to procure a transcript of the plea hearing for review by the District Judge.



Date: November 15, 2006                                  /s/ Ellen S. Carmody
                                                        ELLEN S. CARMODY
                                                        United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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